                                                  Entered on Docket
                                                  October 17, 2019
                                                  EDWARD J. EMMONS, CLERK
                                                  U.S. BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF CALIFORNIA


  1 Heinz Binder (SBN 87908)
    Robert G. Harris (SBN 124678)
  2 BINDER & MALTER, LLP                        The following constitutes the order of the Court.
    2775 Park Avenue                            Signed: October 17, 2019
  3 Santa Clara, CA 95050
    Tel: (408) 295-1700
  4 Fax: (408) 295-1531                         ______________________________________________
    Email: Heinz@bindermalter.com               Stephen L. Johnson
  5 Email: Rob@bindermalter.com                 U.S. Bankruptcy Judge

  6
    Attorneys for Reorganized Debtors
  7 CAMILO C. CALINAWAN and ELSIDA L. CALINAWAN

  8
                                  UNITED STATES BANKRUPTCY COURT
  9
                                  NORTHERN DISTRICT OF CALIFORNIA
 10
                                              SAN JOSE DIVISION
 11

 12
      In re:                                              Case No. 13-56315-SLJ
 13
      CAMILO C. CALINAWAN                                 Chapter 11
 14
      ELSIDA L. CALINAWAN
 15
                                   Debtors.               NO HEARING REQUIRED
 16

 17

 18
 19                                       ORDER TO REOPEN CASE

 20            Upon the Ex Parte Motion of the Debtors, Camilo C. Calinawan and Elsida L. Calinawan, to

 21 reopen their case, and good cause appearing,

 22            IT IS HEREBY ORDERED as follows:

 23            1. The Debtors’ above-captioned chapter 11 case is reopened.

 24            2. This case shall be re-closed on January 31, 2020 without further order of this Court if, on

 25 that date, no contested matters or adversary proceedings are pending in this case.

 26
 27                                              ***END OF ORDER***

 28
      ORDER                                                                                            Page 1
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  1                                   COURT SERVICE LIST

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      All ECF Recipients.
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      ORDER                                                                               Page 2
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